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                   16
                   17                        UNITED STATES DISTRICT COURT
                   18         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                   19
                   20   JOHN ROE 1, an individual; JANE          Case No. 8-22-CV-00983-DOC-DFM
                        ROE 1, an individual; JANE ROE 2 an
                   21   individual; JANE ROE 3, an individual,    DECLARATION OF TIANA DEMAS IN
                        JOHN ROE 2, on behalf of themselves       SUPPORT OF THE STATE BAR OF
                   22   and all others similarly situated,        CALIFORNIA’S MOTION TO DISMISS
                                                                  PLAINTIFFS’ FIRST AMENDED
                   23                  Plaintiffs,                COMPLAINT
                              v.
                   24                                             Courtroom: 10A
                        THE STATE BAR OF CALIFORNIA;
                   25   TYLER TECHNOLOGIES, INC.;                 Judge:     Hon. David O. Carter
                        KEVAN SCHWITZER; RICK                     Date:      August 8, 2022
                   26   RANKIN; and DOES 4 through 10,            Time:      8:30 a.m.
                        inclusive,
                   27
                                       Defendants.
                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                              DEMAS DECL. IN SUPPORT OF THE CA
  LOS ANGELES                                                                STATE BAR’S MOTION TO DISMISS FAC
                                                                              CASE NO. 8-22-CV-00983-DOC-DFM
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                   1    I, Tiana Demas, declare as follows:
                   2            1.         I am an attorney with the law firm of Cooley LLP, which is counsel for
                   3    The State Bar of California (the “State Bar”) in the above-captioned matter. I have
                   4    personal knowledge of the matters set forth herein and, if called as a witness, I could
                   5    and would competently testify thereto.
                   6            2.         Attached as Exhibit A is a true and correct copy of a press release issued
                   7    by the State Bar, dated February 26, 2022, and titled “State Bar of California
                   8    Addresses Breach of Confidential Data.” This press release was accessed on June 3,
                   9    2022,        and     is   publicly   available       on   the   State   Bar’s     website     at:
                   10   https://www.calbar.ca.gov/About-Us/News/News-Releases/state-bar-of-california-
                   11   addresses-breach-of-confidential-data.
                   12           3.         Attached as Exhibit B is a true and correct copy of a webpage issued by
                   13   the State Bar containing Frequently Asked Questions (“FAQs”), dated February 27,
                   14   2022 to June 3, 2022, and titled “Data Breach Updates.” This webpage was accessed
                   15   on June 3, 2022, and is publicly available on the State Bar’s website at:
                   16   https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates.
                   17           4.         Attached as Exhibit C is a true and correct copy of an article issued by
                   18   the Whittier Daily News, dated February 28, 2022, and titled “Security glitch enabled
                   19   website to publish attorney discipline records, State Bar says.”                    All online
                   20   advertisements have been removed and the article’s substance has not been changed.
                   21   This article was accessed on June 3, 2022, and is publicly available on the Whittier
                   22   Daily News’ website at: https://www.whittierdailynews.com/2022/02/28/security-
                   23   glitch-enabled-website-to-publish-attorney-discipline-records-state-bar-says/.
                   24           5.         I declare under penalty of perjury under the laws of the United States of
                   25   America that the foregoing is true and correct. Executed on June 6, 2022, in San
                   26   Francisco, California.
                   27                                                    /s/ Tiana Demas
                                                                         Tiana Demas
                   28
COOLEY LLP                                                                               DEMAS DECL. IN SUPPORT OF THE CA
ATTORNEYS AT LAW                                                         1              STATE BAR’S MOTION TO DISMISS FAC
  LOS ANGELES                                                                            CASE NO. 8-22-CV-00983-DOC-DFM
